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(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the

Western District of New York

Case No. QA-CV-G4E3 ~FPG

(to be filled in by the Clerk’s Office)

AMENDED CompLAIn T

Dowald S. LEFLER

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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COMMISSIONER Anthouy J-ANNU CCS
A. CAPTAIN CARROLL a
3- LigeuTenANT ISAACS Y. CapTaiw FrENyA
Defendant(s) .
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please

write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

JURY TRIAL: YesY No __
IM SUING DEFENDANTS
iN heiR OFFiciAL ANA
iINdividUAL CAPACITY

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Donald S. LeFLER
All other names by which
you have been known:
ID Number | 5B - O035
Current Institution Aubugn Cokrecriion al Fre Lily
Address f-c. Box GIS
Avbu RN NeM% \30'A4
City State” Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name AN Thony J. ANNUGG J

Job or Title (if known) N-y-S. Dept: oF CoRREC Tons ComMMIsSIONER
Shield Number

Employer N. v S-.- Dept of Ce RRECTi oars
Address IQDQ0 Wathing7en Avec Bldg.Q

Albay “NX | AARG”

City State Zip Code
ifn capacity v1 Official capacity

Defendant No. 2

Name CAPTAIN CARROLL

Job or Title (if mown) CoRREC TI owAL O FFtcER |
Shield Number
Employer Ni: VS. CoRRECTI ons - ELMIRA CoRR. FAc.»
Address P.0. Box 500 ”
ELMIRA N-y¥e \YFOA-O5 00
City Staté Zip Code

Individual capacity MW] Official capacity

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(Rev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

Defendant No. 3

Name LiGUTENANT “CSAACS

Job or Title (if known) C © RREC TicewWA ZO FF (CER.
Shield Number
Employer Ne&S. CoRRE¢Ti Ons y ELm rea Corr.Frc-
Address fs oz Box 50o
ELMiR~A Ny. [Y¥$0a-0500
City State Zip Code

N] Individual capacity N] Official capacity

Defendant No. 4

Name Cap TAln FRENYA

Job or Title (f known) C-o keec TievAl OFRFi CEPR
Shield Number
Employer N- v5. CoRREcTions y ELMIRA CorRe Fac.
Address P.2-. Box Soo
ELMIRA N: xX 1¥]oaA-9500
City State Zip Code

[U1 individual capacity [J] oficial capacity

IL. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[ ] Federal officials (a Bivens claim)

V1 State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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None

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

LTNMATE Violence, CORRESTiow officers NOT prolecTing

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Il. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

LJ

Pretrial detainee

CJ Civilly committed detainee

[| Immigration detainee

MI Convicted and sentenced state prisoner
LI

Convicted and sentenced federal prisoner

[| Other (explain)

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

Nowe

B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?
S$-9-Q20ao
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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Vil.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

VY] Yes
[] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

V1 Yes
[] No

[| Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[| Yes
[| No
YM Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[A Yes
[| No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[] Yes
[ | No

E. If you did file a grievance:

1. Where did you file the grievance?

ELMIRA FRisow

2. What did you claim in your grievance?

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3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

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2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VU. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has ‘“‘on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[] Yes
[ | No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[| Yes
Mi No

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

[| Yes
[ | No

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

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Signature of Plaintiff ie 8 Z. f ae tail tat

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B. For Attorneys
Date of signing:
Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number

E-mail Address

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WESTERN DISTRICT OF NEW YoRK

Wa U.S.C. |I83 ss CASE Wo! Qa-cv-06Y4é8-FPG

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AMENDED Com Plain
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INMATE Violence .

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Exhi bi Ts

Exhibit A hieTure oF my

WoOoUNAS., plus LN} URy ReporT.

Exhibit B INMATE. GRIEVANCE
ComplninT.
| Exhibit c ELmira TRiISon

_ DocumenTS .

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Exhibit A |
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Filed 01/25/23 Page 21 of 39

Case 6:22-cv-06468-FPG Document 4

-U.1..#20-022%8-9-2020 2:32 pm Inmate Lefler, Donald 15B0035 |-6-5 Photographed by Sgt. Albert

Foul i\ 2\\ LU

Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 22 of 39 #@

FORM 1595 (11/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
INMATE INJURY REPORT

a 7M We A | Ob it % IP Location B Ali Pave
Pieler Dy vlad — ehh se _STEG 5

What was cause CH injury?
| er Ce ten Ue Lh Goother nate

Inmate's Statement:

Ad strte ment

LMA DL V0

Inmate's Signature Date

Witnesses

= il ABELL Cat

Reporting Employee Title

FACILITY HEALTH SERVICES ee

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FRONT BACK

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OS (Left)

Dale of medical examination: sic Ly Time: a 0 Hiv

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[TS (he ACK Pla gll Jy Gps Stirs Aghlut- I So by Sean
Me DPM Zliks * [

“ent le admitfed'to SL infirmary? * Outside hospital? If yes, where? PCP on site avaluation? Telemed evaluation?
Yes fal-nfo C1 Yes No C1 Yes Dio [] Yes Et wo
=— FA

“T. and title df person oo vr treatment at facility:

PAULI | ln Le 2 Di hen ; Y (PRI (Wee
Signature rin Title

This form is to be forwarded to the Fire & Safety Officer within 24 hours for review and filing.
* Attach a memorandum if additional information is needed for the description of injury.

Case 6:22-cv-06468-FPG Document4- Filed 01/25/23 Page 23 of 39

‘xhibit B

Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 24 of 39
STATE OF NEW YORK - DEPARTMENT’ OF CORRECTIONAL SERVICES

FORM 21316 (REV, 8/06} INMATE GRIEVANCE COMPLAINT .
: Gievance Na.
ELMTRA CORRECTIONAL FACILITY
Date 9/10/20
Name Donald Lefler __ Dept.No, 1530035 ____ Housing Unit_IPC-7-9
Program | N/A AM N/A PM

(Please Print or Type ~ This form must be filed within 21 calendar days of Grievance Incident} *

Description of Problam: (Please make as brief as possible} On 8/9/20, I suffered severe injuries

after I was assaulted in recreation. I have complained several times to staff that

my safety was in jeopordy due to the ongoing raciakltensions and threats I've been —

receiving by other inmates and I was ignored and treated with indifference. I am now

in severe pain, ._...... and left with permanent scars, both emotionally
and physically...

Grievant
Signature

Grievance Clerk _ Data:

Advisor Requested [| ves [_] No Who:

_ Action requested by inmate: (1). All staff to adyere my pleas for safety. (2). All medical

staff to help relieve my constent pain upon my request without being ignored.

Tris Grevanos has bean informally resolved as follows:

This Informal Resolution is accepted:
{Ta be completed only if rasalved prior to heann 2)

Grievant
Signature Date:

if imennalvad sar aee antitied to a hearing by tha lamate Grievance Resolution Committee (IGRC),
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 25 of 39

STATE OF NEW YORK - DEPARTMENT SF CORRECTIONAL SERVICES

FORM 21318 (REV, 6/06} INMATE GRIEVANCE COMPLAINT

. Grievance No, .

ELMTRA CORRECTIONAL FACILITY
Date 9/10/20
Name Donald Lefler Dept.No._15B0035 Housing Unit__IPC-7-9
Program _ N/A AM NA PM

{Please Print or Type - This form must be fited within 21 calendar days of Grievance incident}*

Description of Problem: (Please make as brief as possible} This is a formal crievance complaint

specifically against the Security staff, the medical department and the Superintendent,

for the following reasons: (1). For abusing their position & authority here and purposely

not doing anything to ensure the safety and security of the inmate population such as myself

in their care and custody. Refusing to do anything to curb the many slashings , cuttings
and stabbings that occur here. One recently resulting in the death of an inmate... (2).

For the Elmira C.F. & the above named staff to be held responsible for allowing: (See Attached
description of- problem)

Grievant

Signature

Grievance Clerk Data:
Advisor Requested C | YES [| NO Wha:

Action requested by inmate: That this matter/problem be investigated and _addressed/reviewed by ’

D.O0.C.C.S. Centnal Office and by theoOffice of Special Investigations, because this facility

staff and administration can't seem to get control of these situations or simply refuse to

truly put any effort in conbatting this ongoing problem. (See attached action requested)
This Grievance has been informally resolved as follows:

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant

Signature Date:

Ieamraealved vai ara antitled to a hearino bv the Inmate Grievance Resolution Committee (IGRC}.
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 26 of 39

INMATE GRIEVANCE. CONTINUED.

¢2). An unknown inmate to come behind me while I was sitting on the bleachers in

the yard and slash/cut my face with ai kazor/weapon, right in front of the security staff
and the security staff didinot apprehend said inimate and didinothing to prevent this
incident when they are supposed to be watching and did not apprehend the individual who
cut me from behind across my face. They failed to provide for my health and safety.

(3) « For Elmira C.F. & the above named staff were supposedly not doing anything about
my injuries and them purposely not providing me with any medical care/treatment; for
them purposely not providing any follow-up care, and not giving me anything for the pain

I am in, and for ignoring all my requests since then to be seen.

ACTION REQUESTED: (12). That I receive the madical care/attention I need & that chey

are supposed to provide. (3). That I receive punitive & compensatory damages and money
for their neglect and for my injuries, pain & suffering. (4). That some other staff

be appointed by DOCCS CENTRAL OFFICE to review this incident and to correct Elmira's °
security staffs fabhure to protect itsi inmates from uncalled for and unnecessary violence
at this facility. (5). That some kind of punitive and/or disciplinary action be taken
against the Elmira staff and its security and medical staff as well as the Superintendent
for not protecting me , warning me or stopping this incident from happening and failing
to provide me with the proper medical care. and;

For any other and further relief that may be deemed just and proper.

Dated: / f Inmate: Donald Lefler.
Din.# 15B0035

cc: file
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23. Page 27 of 39

Exhibit C-
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 28 of 39

PAGE 1 STATE OF NEW YORK PRINTED AT
DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION 08/12/20 01:08 PM
UNUSUAL INCIDENT REPORT

ELMIRA GENERAL FAC CODE 110 FAC LOG# 200226 CCCH# 289323

INCIDENT DATE 08/09/20 TIME 02:32 PM LOCATION YARD BALL PARK

TELEPHONE DATE 08/09/20 TIME 07:59 PM

PERSON CALLING LT ISAACS
PERSON RECEIVING CAPT Ai: FRENYA

REPORT DATE 08/10/20 PERSON REPORTING CAPT  S, HENRY
USE OF FORCE NO WEAPON USED YES WORKPLACE VIOLENCE NO

KH HK HH HHH HHH KH KH HK HEH KKH KKH HHH KHL KKK KKK KH KKK KK KKK HM KK KKK KK KKH KKK HK KKK KK KKK KHER

ASSAULT C02) O1
ON INMATE

HH HH KKK HK HHH HK HHH HHH HH HK HH HE HHH HHH HHH KKH KK HHH HHH EK HH KH KKK KE KKK KKK KKK KKK KKK KKK KKK

DESCRIPTION:

WHILE IN THE BALLPARK DURING AFTERNOON RECREATION, INMATE LEFLER,

DONALD 1580035 (I-6-5) REPORTED TO CO FERRARO THAT HE HAD BEEN CUT BY AN
UNKNOWN INMATE IN THE BALLPARK BLEACHERS WITH AN UNKNOWN CUTTING TYPE
WEAPON. AREA SUPERVISOR SGT ALBERT NOTIFIED AND ORDERED INMATE LEFLER

ESCORTED TO FACILITY MEDICAL.

HEH KK HE HK HK HK HHH KH HHH IIH HK HHH KH HHH EK EHH HE HK MK KKK HK KKM KKK HHH KKH KKH KKK KK KK HK

EVENTS CAUSING:

INMATE LEFLER, D.15B0035 REPORTED TO STAFF IN THE BALLPARK THAT HE HAD BEEN
CUT FROM BEHIND BY AN UNKNOWN INMATE.

KKK HHH HK HHH KH HICH HEE HEHE HH HEHE HH EK EK KE EH EH EE HH KH MAK EMH K KKK KKH KN KKK KKK KHER

ACTION TAKEN:

INMATE LEFLER WAS ESCORTED TO THE FACILITY INFIRMARY FOR EXAMINATION WHERE
THE FOLLOWING INJURIES WERE NOTED: A 2 1/2 INCH SUPERFICIAL LACERATION TO
THE RIGHT FACE AND A 1 INCH SUPERFICIAL LACERATION BEHIND THE RIGHT EAR. 8
STERI STRIP WERE APPLIED TO CLOSE THE WOUNDS. SGT ALBERT ORDERED A CELL
SEARCH OF I-6-5 WHICH YIELDED NO REPORTABLE CONTRABAND. INMATE LEFLER

Case 6:22-cv-06468-FPG Document4- Filed 01/25/23 Page 29 of 39

PAGE 2 STATE OF NEW YORK PRINTED AT
DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION 08/12/20 01:08 PM
UNUSUAL INCIDENT REPORT

ELMIRA GENERAL FAC CODE 110 FAC LOG# 200226 CCC# 289323
INCIDENT DATE 08/09/20 TIME 02:32 PM LOCATION YARD BALL PARK
USE OF FORCE NO WEAPON USED YES WORKPLACE VIOLENCE NO

EH KKK KH HH HHH KK HH KE HK HHH HHH EHH KK EK KH HEH HEE HE EK HIE KH HK KEK HK KH KK HHH HHH KKK

ACTION TAKEN: CCONTINUED)
REMAINED IN I-6-5 PENDING IPC. SGT ALBERT DEEMED INMATE LEFLERS INJURY TO

BE CONSISTENT WITH AN UNRECOVERED CUTTING TYPE INSTRUMENT. AN INCIDENT AREA

SEARCH WAS CONDUCTED DURING WHICH NO WEAPON WAS RECOVERED AND NO
PERPETRATOR WAS IDENTIFIED. ALL PERTINENT PAPERWORK AND PHOTOS SUBMITTED.
NOTIFICATIONS MADE TO SUPT RICH, DS1 YEHL, DSS KELLER, CAPT HENRY AND OD

ADSMH WHITE.

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MEDICAL REPORT:

INMATE LEFLER WAS NOTED TO HAVE A 2 1/2" CUT TO RIGHT FACE AND A 1" CUT
BEHIND RIGHT EAR. ALL AREAS CLEANSED WITH SOAP AND WATER. 8, HALVED STERI-

STRIPS WERE APPLIED TO RIGHT FACE AND NECK.

E. PIERCE ZNURSE 08/09/20 02:40 PM
EXAMINER NAME/TITLE EXAM DATE/TIME

YE HH KH HSE HE HEE SE MEE SEI HE SE IE HEHE NE IE IEE HE HE HE TE IE HE HEE HE TE HE TE TE IE IE FE HE HE TE HE HE HE HEH HEE TEI HE HE HEH HEHE HH HEHE HE HEHE HEH HK KKK

PROPERTY DAMAGE:

NONE

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NOTIFICATION CFAMILY):

NONE

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PAGE 3 STATE OF NEW YORK PRINTED AT
DEPT OF CORRECTIONS AND COMMUNITY SUPERVISION 08/12/20 01:08 PM
UNUSUAL INCIDENT REPORT

ELMIRA GENERAL FAC CODE 110 FAC LOG# 200226 CCC# 289323
INCIDENT DATE 08/09/20 TIME 02:32 PM LOCATION YARD BALL PARK
USE OF FORCE NO WEAPON USED YES WORKPLACE VIOLENCE NO

KH KKK KH HK HHH HH HHH HHH HHH HHH KH HHH KH HH HE HK KK HE HK HH HE HH HK HK KKH KE HHI K HK HM HK KKH KKK KE KKK KKK

NOTIFICATION CPOLICE/OTHER):

NONE

KKK KKK KKK KKK KKH KKK KKK KKK KKK KKK KKK KH KKK KKK KKK KKK KKK KK KKK EK KKK KKK KKK KKK KKK KKK KH KHX

INMATE INFORMATION:
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LEFLER, DONALD 15B0035 DOB 06/14/1961 ETHNIC- WHITE
GEN INCIDENT - SPECIFIC INCIDENT ROLE WEAPON FORCE INJURY
ASSAULT - ON INMATE VICTIM UNR/CUTTNG LACERATION

HEHE HK HEHE HE IE HE HE SESE HE HE HE HEHE HE HEHE HE HE HE HEHE HE HEH HE HE HH HE IE IE HE HE HK HE EE HK KE KE KK HIKE EK KK EK KK
EMPLOYEE INFORMATION:

KKK KKK KKK HK HK KKH HH KKH KK KKM KKH HK KK KKK KKK KM K KKK HEH KKK KH K KKK KKK E KKK KKK KK KK KKK KKK KX KXX

FERRARO, | co

GEN INCIDENT - SPECIFIC INCIDENT FORCE INJURY DEGREE

ASSAULT - ON INMATE
HE EE KH HEH KE LE IE HH HEH KE EHH KEI EEE HE HHH KK I EK KK KH EK KKK KEK KRY

ALBERT, Mi) SGT

GEN INCIDENT - SPECIFIC INCIDENT FORCE INJURY DEGREE
ASSAULT - ON INMATE

KH K KKK KK KKK KKK KKK KK HN HK HICK IH KH KH HE HE HHH HE HEHE IE HEHE EH KK KICK EH KKK HME HK EHH KKK KKH KE

SPT JOHN RICH A 08/12/20
SUPERINTENDENT J DATE

Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 31 of 39

NEW i
7 Yorn | Corrections and

——> $iare | Community Supervision

ANDREW M. CUOMO ANTHONY J. ANNUCCI

Governor Acting Commissioner
MEMORANDUM

TO: Lt. Isaacs
FROM: Set. M. Albert
DATE: 8-9-2020

SUBJECT: U.L# 20-0226

Sir,

On 8-9-2020 at approximately 2:32 pm, Inmate Lefler, Donald 15B0035 (I-6-5)
reported to Officer Ferraro that he had been cut. | was notified and inmate Lefler was
escorted to the facility infirmary for examination. Inmate Lefler was noted to have a 2
1/2-inch laceration to the right side of is face and a 1-inch laceration behind his right
ear. Inmate Leflers injuries were consistent with an unrecovered cutting tyoe weapon. |
ordered Leflers cell frisked with no reportable contraband found. | interviewed inmate
Lefler and he stated that while 2 inmates were fighting an inmate approached him from
behind and cut him while he was seated at the bleachers. | ordered the incident area
frisk with no weapon recovered. Inmate Lefler was unable to identify the inmate that
assaulted him. Inmate Lefler was placed back in cell |-6-5 pending involuntary protective
custody status. All pertinent documents and photographs have been submitted.

Respectfully Submitted,

SBR £6 Lor

Sgt. M. Albert

al)

Elmira Correctional Facility, 1€79 Davis Street. P.G. Box S00, Elmira. NY 14901-0500 | (607} 734-3901 | wanw.doces.ny.dov
Case 6:22-cv-06468-FPG Document4- Filed 01/25/23 Page 32 of 39
Form 2082 (05/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS & COMMUNITY SUPERVISION : &

REQUEST FOR URINALYSIS TEST

Facility Elmira Correctional Facility Test # .
Inmate Name Lefler, Donald Number 15B0035_ Cell 1-6-5
Request made by Sgt. Albert Date 8/9/2020
Agent(s) suspected (if any) Full Scan

Circumstances leading to request Inmate assaulted by unkown inmate. Possibly drug related.

_f/_f
Test approved by Captain Carroll ( [ tir! Date 8/9/2020
i

Inmate told the underlying reason why he is being ordered to submit a urine specimen
(circle one” Suspiciot™., Routine Random)

By Date Time

Has inmate taken medication recenty? ( YES or NO) Specify

Inmate ordered to submit specimen: Date Time

Specimen witnessed and obtained by Date Time

Does inmate willfully refuse to submit specimen? ( YES or NO )

Does inmate claim to be unable to submit specimen in the presence of others?

(YES or NO)* DATE TIME

*(In the event an inmate makes this claim, the procedures in Directive #4937, section IV-E shall be followed.)

IF INMATE CLAIMS TO BE UNABLE TO SUBMIT SPECIMEN, HAS INMATE BEEN GIVEN AT LEAST THREE HOURS
TO SUBMIT SPECIMEN ( YES or NO )

Specimen tested by (1st Test) Date Time

Results

Specimen tested by (2nd Test)

Results

Chain of Custody (Starting with staff obtaining specimen. Attach additional pages if necessary.)

From To Date Time
From To Date Time
From To Date Time
From To Date Time
From To Date Time
From To Date Time

This form is to be filled out completely. It is to accompany the specimen until the specimen is tested.
If the specimen is positive, a Misbehavior Report shall be written.
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 33 of 39

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—~/ NEW. | Corrections and
—-~ grave | Community Supervision

ANDREW M. CUCMO ANTHONY J. ANNUCCI
Governor Acting Commissioner
MEMORANDUM

TO: Lt. Isaacs
FROM: Set. M. Albert
DATE: 8-9-2020

SUBJECT: U.L# 20-0226

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ordered Leflers cell frisked with no reportable contraband found. | interviewed inmate
Lefler and he stated that while 2 inmates were fighting an inmate approached him from
behind and cut him while he was seated at the bleachers. | ordered the incident area
frisk with no weapon recovered. Inmate Lefler was unable to identify the inmate that
assaulted him. Inmate Lefler was placed back in cell I-6-5 pending involuntary protective
custody status. All pertinent documents and photographs have been submitted.

Respectfully Submitted,

Sgt. M. Albert

Elmira Correctional Facility, 1879 Davis Street. P.O. Box 500, Elmira. NY 14901-0800 | (607) 734-3901} www.doces.ny.gov
Case 6:22-cv-06468-FPG Document4- Filed 01/25/23 Page 34 of 39

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Form 2168 (Rev.6/93}

(copy focally as needed) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONAL SERVICES
“ELMIRA Correctional facility
Check One r ADMINISTRATIVE SEGREGATION RECOMMENDATION
v INVOLUNTARY PROTECTIVE CUSTODY RECOMMENDATION

1. Inmates Name: Lefler, Donald DIN: 1580035 CELL: 1-6-5

2. Reason for this recommendation :

During recreation in ihe Facility Ball Park on 8-9-2020, inmate Leflar was assaulted while seated in the
bleachers. Inmate Lefler was unable to identify the perpetrator. Inmate Letler refused to sign in to voluntary
protective custody. A copy of the signed protection waiver is attached.

y
/ #, “37 z ao
8/9/2020 3:00 pm M Albert Mh CLEC Sergeant
Date é TIME Name Of 2erson Making Recommendation : SIGNATURE TITLE

3. Is inmate confined pending a determination on this recommendation ? iw YES NO
4..1f Yes,

a. Housing unit of present confinement | Block CELL: 6-5

b. Authorized by: Lt. isaacs

Notice to inmate: A hearing will be conducted within 14 days of this recommendation in accordance with provisions
of Part 254 of chapter V. You will entitled to call witnesses on your own behalf, provided that doing so does nat
jeopardize institutional safety or correctional goals.

If restricted pending a hearing on this recommendation, you may write to the Deputy Superintendent for security or his/her

designee prior to the hearing to make a statement on the need for continued confinement.

3

Distrbution: Original - inmate

Copy - Disciplinary Office

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—t Wew | Corréttions and
pIATE | Community Supervision

ANDREW M. CUOMO ANTHONY J. ANNUCCI
Governor Acting Commissioner

PROTECTION WAIVER

aj = AA. PAY iS eet
| LPL bon ALK $740 aD
{Last Name} (First Name) {D.1.N.#)

feel that | have no needifor protection from anyone in population here at Elmira Correctional

Facility. | Feel, at this tinve, that there is no threat to my life by returning to general population.

| further assert that this action was initiated by myself, and that | take full responsibility for any

And all consequences.

e

nie, JP} ee fe
Inmate Signature: 7 LD se -! 2
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i Date: fe feo
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Zimira Correctional Facility 187HOes Sires: =O. 3ox 560. Zimira. NY 14901-0500 j S07} 734-3901} www. daces. ay soy

Case 6:22-cv-06468-FPG Document4 Filed 01/25/23 Page 36 of 39
Corrections and

NEW
YORK
oH Community Supervision

ANDREW M. CUOMO ANTHONY J. ANNUCCI
Governor Acting Commissioner

TO: Stn Al bent oo pate: 6717 #930

rom «CO, dU Fereaeo
SUBJECT: Cutting Acpertad) _do mein » Aull Raele

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eo Rang Sd,

£L199 (08/15)

Elmira Correctional Facility, 1879 Davis Street, P.O. Box 500, Elmira, NY 14902-0500 | (607) 734-3901 | www.doccs.ny.gov
Case 6:22-cv-06468-FPG Document4 Filed 01/25/23

york | Corrections and
STATE | Community Supervision

ANDREW M. CUOMO ANTHONY J. ANNUCCI
Governor Acting Commissioner
CERTIFICATION

STATE OF NEW YORK _ )
) SS:
COUNTY OF CHEMUNG )

I, AB ersley, being duly sworn, depose and say:

That I am an Office Assistant II in the Inmate Records Office at the Elmira Correctional F acility, and hereby
certify that the attached documents are true and exact copies of the Unusual Incident Report, inc. date 8/9/20
which is on file with the New York State Department of Correctional Services for 15B0035 Lefler, Donald.

Page 37 of 39

a

A. Ersley, Office Assistant II

Elmira Correctional Facility, 1879 Davis Street, P.O. Box 500, Elmira, NY 14901-0500 | (607) 734-3901] www.doces.ny.gov

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FORM 3105A (7/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS ANI}:COMMUNITY SUPERVISION

AMBULATORY HEALTH RECORD PROGRESS NOTE

Date of Birth Facility Name

245. 20035 tbh vlor | mia
Last Name tet Atnald

no nace eal Se

DIN 1.5 ADD Location

Date S] 2 / 2.) Time

RN Transcribing Order/Provider #: DaterT Algo

"OY cay © fore

Subjective: | . \ Last Nazne = £ Nola { Ld
hr rly hath ne DIN 16 é 2h / Location | Th py

Objective: (i THO Pes Gee Date apt Time BY

Assessment: s BE “ob (he [3b ‘h
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Signature/Provider # hive A + Pacing Order/Provider #/. ate/Time “3 g| it

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Subjective: Last Name ed Cf lev cv, 1D

fe nr OS Ma all _ .
Animate ho she fin Sreh Car" DIN _] ¢ “Boo BF Location #+-£ -—-

Objective:
Provide: : Orders:

Assessment:

Plan:

Date _tuf2 o Time (2/257 PAY ‘

Signature/Provider # Ae Lb RN Transcribing Order/Provider #/1} tte/Time

Continuv entry into next box if necessary.

Cape pize ey. ae SE-FPR Document 4 4. Fipssongsis, Page 391 39.27
es ERM DisTecrT oF NEW

_ CASE NO. AA-CV-6 YEP-FPG

Te: Hovorable CLERK. oo CougT
Exclosed is Ay AitenDeD ComplRiT,

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Please have The UvitebD STATES

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DeEfeudaAcTs with the

AMGDED C OMAP WT AND Summons.

Respect Fully Sub mired

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P.0> Box GIS

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